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                         UNITED STATES BANKRUPTCY COURT
                            MIDDLE DISTRICT OF FLORIDA
                                  TAMPA DIVISION
In re

Edwin Martinez and Migdalia Martinez
                                                  CHAPTER         7
                                                  CASE NO.        8:11-bk-05292-CPM
      Debtor(s)
______________________________/

        MOTION FOR RELIEF FROM STAY FILED BY JPMORGAN CHASE BANK,
             NATIONAL ASSOCIATION REGARDING REAL PROPERTY

                               NOTICE OF OPPORTUNITY TO
                                OBJECT AND FOR HEARING


         Pursuant to Local Rule 2002-4, the Court will consider this motion without
 further notice or hearing unless a party in interest files an objection 21 days from the
 date of service of this paper. If you object to the relief requested in this paper, you must
 file your objection with the Clerk of the Bankruptcy Court 801 N. Florida Avenue, Suite
 555, Tampa, FL 33602-3899 and serve a copy on the movant's attorney (Brad W.
 Hissing, Esq.,Kass Shuler, P.A., P.O. Box 800, Tampa, Florida 33601).

         If you file and serve an appropriate objection within the time permitted, and the
 objection reveals factual or legal issues requiring a hearing, the Court will schedule a
 hearing and you will be notified. Otherwise, the Court will consider the motion and the
 responses on the papers without further notice or hearing. If you do not file an objection
 within the time permitted, the Court will consider that you do not oppose the granting of
 the relief requested in the paper, will proceed to consider the paper without further
 notice or hearing, and may grant the relief requested.

         JPMORGAN CHASE BANK, NATIONAL ASSOCIATION ("Creditor"), pursuant to

§§362(d)(1) and (2) of the Bankruptcy Code, hereby moves this Court for entry of an order

granting relief from stay as to the bankruptcy estate and as to the Debtor(s), and states:

         1.     For value received, the Debtor(s) executed and delivered a Promissory Note

("Note") as evidence of indebtedness to Creditor.

         2.     The Debtor executed and delivered a Mortgage to Creditor securing said

indebtedness with the following property: REAL PROPERTY LOCATED AT: 3424 YALE

CIR, RIVERVIEW, FL 33578 LEGALLY DESCRIBED AS: LOT 12, BLOCK 1, IVY

ESTATES UNIT NO. 2, AS PER PLAT THEREOF, RECORDED IN PLAT BOOK 45,

PAGE 74, OF THE PUBLIC RECORDS OF HILLSBOROUGH COUNTY, FLORIDA.
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("Collateral").

       3.         Movant is entitled to enforce the Note and Mortgage. Copies of the relevant loan

document(s) are attached hereto as Exhibit "A" & "B".

       4.         Creditor is owed the amounts referenced in the attached Affidavit plus any

changes accruing subsequent to the date of the Affidavit.

       5.         The Debtor(s) defaulted under the terms of the Note and/or Mortgage with

Creditor by failing to do the following: make all payments when due as specified in the attached

Affidavit, Exhibit "C".

       6.         The Debtor(s), and the estate, have made no offer of adequate protection to
Creditor regarding Creditor’s interest in the Collateral. Creditor, therefore, lacks adequate

protection.

       7.         The Collateral is diminishing and decreasing in value and continues to do so by

virtue of the continued use of the Collateral by the Debtor(s) without payments to Creditor.

       8.         The Debtor(s), and the estate, lack equity in the Collateral.

       9.         The Collateral is not necessary to an effective reorganization.

       10.        Pursuant to the terms of the Promissory Note / Contract between the parties, the

Debtor(s) is/are obligated to pay Creditor’s reasonable attorneys' fees and court costs. Creditor

has retained the undersigned attorneys and has agreed to pay them a reasonable fee for their

services rendered in connection with this Motion.

       11.        Creditor asserts sufficient cause exists to waive the requirement of Bankruptcy

Rule 4001(a)(3), therefore allowing an Order to be effective upon this Honorable Court's

signature. In addition Creditor prays that the Court suspend the Rule in all instances in which

there is a Consent on the part of the Debtor(s).

       12.        The unpaid principal balance due is in the amount of $207,010.87 .

       13.        The account at issue is presently due for the payment due March 1, 2010 and all

subsequent payments which have come due through the date of this Motion.
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         WHEREFORE, Creditor requests that the Court enter an order modifying or terminating

the automatic stay as to the Debtor(s) and to the estate to permit Creditor to enforce its in rem

contractual and state law remedies as against the Collateral and for such other relief as requested

above.

                                                      /s/ Brad W. Hissing, Esq.
                                                      Brad W. Hissing, Esq.
                                                      Kass Shuler, P.A.
                                                      P.O. Box 800
                                                      Tampa, FL 33601
                                                      Phone: (813) 229-0900 Ext. 1347
                                                      Fax: (813) 769-7565
                                                      bhissing@kasslaw.com
                                                      Florida Bar No. 854794



                                 CERTIFICATE OF SERVICE
       I HEREBY CERTIFY THAT a true and correct copy of the foregoing was furnished on
May 13, 2011, by U.S. Mail and/or electronic mail via CM/ECF pursuant to Local Rule 7005-3
to: Edwin Martinez and Migdalia Martinez , 3424 Yale Circle , Riverview, FL 33578; Mayra L.
Calo, Esq., 213 Providence Road, Brandon, FL 33511; Beth Ann Scharrer, Trustee, P.O. Box
4550, Seminole, FL 33775-4550.

                                            Rule 7005-3

              SERVICE BY ELECTRONIC MEANS UNDER RULE 5(b)(2)(D)
        A party may make service under Rule 5 (b) (2) (D) of the Federal Rules of Civil
Procedure through the Court's electronic transmission facilities if the party being served is a
Filing User or otherwise consents in writing to electronic service.

                                                      /s/ Brad W. Hissing, Esq.
                                                      Brad W. Hissing, Esq. (x1347)

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